

People v Alburg (2017 NY Slip Op 05747)





People v Alburg


2017 NY Slip Op 05747


Decided on July 19, 2017


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 19, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
L. PRISCILLA HALL
JEFFREY A. COHEN
ANGELA G. IANNACCI, JJ.


2009-08852
 (Ind. No. 1219A/06)

[*1]The People of the State of New York, respondent,
vRoland Alburg, appellant.


Peter J. Creedon, Northport, NY, for appellant.
Thomas J. Spota, District Attorney, Riverhead, NY (Michael J. Miller of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the County Court, Suffolk County (Gazzillo, J.), rendered September 11, 2009, convicting him of criminal possession of a controlled substance in the first degree, conspiracy in the second degree, criminal possession of a weapon in the third degree, criminal possession of a weapon in the fourth degree, money laundering in the first degree, and money laundering in the second degree (five counts), upon his plea of guilty, and imposing sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the appellant.
ORDERED that the judgment is affirmed.
We are satisfied with the sufficiency of the brief filed by the defendant's assigned counsel pursuant to Anders v California (386 US 738), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252; People v Paige, 54 AD2d 631; cf. People v Gonzalez, 47 NY2d 606).
MASTRO, J.P., HALL, COHEN and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








